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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                            1/11/2021
JANET PRUTER, et al.,
            Plaintiffs,
                                                    15-CV-1153 (AT) (BCM)
-against-
                                                    ORDER
LOCAL 210, INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, et al.,
            Defendants.

BARBARA MOSES, United States Magistrate Judge.

       This is an ERISA action, filed more than five years ago, in which I conducted a judicially

supervised settlement conference on July 14, 2020. (See Dkt. No. 116.) At the parties' request, I

issued a Scheduling Order (Dkt. No. 123) setting a second settlement conference for October 26,

2020, which was subsequently rescheduled to January 12, 2021. (Dkt. No. 134.)

       In advance of the first settlement conference, the parties failed to comply with a number

of the Court's pre-conference requirements and were warned that future noncompliance could

result in sanctions. (Dkt. No. 101.) Notwithstanding that warning, plaintiffs' counsel again failed

to comply with this Court's orders, requiring yet another remedial order. (Dkt. No. 102.)

       In advance of the second conference, plaintiffs' counsel has failed, yet again, to comply

with this Court's basic settlement-related directions. First, counsel failed to timely submit the

materials required by ¶¶ 3-4 of the Scheduling Order, requiring chambers staff to call counsel

after the deadline expired. Second, plaintiffs' acknowledgement form fails to identify which

plaintiffs will be attending the conference. Third, counsel sent an email to chambers asking

whether the conference will take place "by telephone or some sort of video conference." A

follow-up email sent by one of the individual plaintiffs suggests that those plaintiffs who do plan

to attend are unaware of the date, time, or dial-in information for the conference. All of this

information is in the Scheduling Order.
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       No later than January 12, 2021 at 12:00 noon, plaintiffs' counsel shall submit an

updated acknowledgment form identifying each plaintiff who will attend the January 12, 2021

settlement conference, via email to Moses_NYSDChambers@nysd.uscourts.gov, with a copy to

defendants' counsel. It is counsel's responsibility to ensure that each such plaintiff is aware of the

time, date, and dial-in information for the conference.


Dated: New York, New York
       January 11, 2021
                                               SO ORDERED.



                                               ________________________________
                                               BARBARA MOSES
                                               United States Magistrate Judge




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